                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                                 AT KNOXVILLE




 UNITED STATES OF AMERICA                             )
                                                      )
 v.                                                   )      No. 3:08-CR-175
                                                      )      (Phillips)
 CLARK ALAN ROBERTS and                               )
 SEAN EDWARD HOWLEY                                   )



                             MEMORANDUM AND ORDER



              The Superseding Indictment charges the defendants in eleven counts with

 violations of the Economic Espionage Act (EEA), 18 U.S.C. § 1832. Count One alleges the

 defendants conspired to commit theft of trade secrets, unauthorized photographing and

 transmitting of trade secrets, and receiving and possessing trade secrets. Count Two

 charges the defendants with theft and attempted theft of trade secrets. Count Three

 asserts that the defendants photographed and attempted to photograph trade secrets.

 Counts Four through Six allege that the defendants transmitted or attempted to transmit

 trade secrets.   Count Seven charges the defendants with possession or attempted

 possession of stolen trade secrets. Counts Eight through Ten allege that the defendants

 committed wire fraud, and Count Eleven alleges the defendants conspired to commit wire

 fraud.




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              On November 17, 2009, the Honorable C. Clifford Shirley, United States

 Magistrate Judge, filed a 25-page Report and Recommendation (R&R) [Doc. 80] in which

 he recommended that (1) defendants’ motion to dismiss the Superseding Indictment on the

 basis of failure to state an offense [Doc. 27], and (2) defendants’ motion to dismiss the

 Superseding Indictment on the basis of unconstitutional vagueness [Doc. 29] be denied.

 Magistrate Judge Shirley found that the Economic Espionage Act is not unconstitutionally

 vague as applied to the defendants and that the Superseding Indictment alleges the

 elements and facts in sufficient detail to comport with the Fifth Amendment.



              This matter is presently before the court on defendants’ timely objections to

 the R&R [Doc. 83]. Defendant Howley has moved to adopt defendant Roberts’ objections

 to the R&R [Doc. 85], and the motion is GRANTED. As required by 28 U.S.C. § 636(b)(1),

 the court has now undertaken a de novo review of those portions of the R&R to which

 defendants object. For the reasons that follow, the court finds itself in agreement with

 Magistrate Judge Shirley’s thorough analysis of the legal issues arising from defendants’

 motions. Consequently, defendants’ objections will be overruled, the R&R will be accepted

 in whole, and the underlying motions to dismiss the Superseding Indictment will be denied.



              First, the defendants argue that the EEA is void for vagueness unless it is

 interpreted to require that they knew the information allegedly stolen was a trade secret.

 “The standard for vagueness in a criminal statute is if it defines an offense in such a way

 that ordinary people cannot understand what is prohibited or if it encourages arbitrary or

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 discriminatory enforcement.” United States v. Avant, 907 F.2d 623, 625 (6th Cir. 1990).

 The term “trade secret” is defined in 18 U.S.C. § 1839(3) as follows:

              (3) the term “trade secret” means all forms and types of
              financial, business, scientific, technical, economic, or
              engineering information, including patterns, plans,
              compilations, program devices, formulas, designs, prototypes,
              methods, techniques, processes, procedures, programs, or
              codes, whether tangible or intangible, and whether or how
              stored, compiled, or memorialized physically, electronically,
              graphically, photographically, or in writing if –

              (A) the owner thereof has taken reasonable measures to keep
              such information secret; and

              (B) the information derives independent economic value, actual
              or potential, from not being generally known to, and not being
              readily ascertainable through proper means by, the public.


 Defendants specifically argue that the Supreme Court’s decision in Flores-Figueroa v.

 United States, 129 S.Ct. 1886 (2009) requires the government to prove that defendants

 knew the information they converted met the legal definition of a trade secret under the

 statute. However, as pointed out by the government, Congress does not require a showing

 that a defendant specifically is aware of each element of the definition of a trade secret

 under § 1839(3):

              It is not necessary that the government prove that the
              defendant knew his or her actions were illegal, rather the
              government must prove that the defendant’s actions were not
              authorized by the nature of his or her relationship to the owner
              of the property and that the defendant knew or should have
              known that fact.


 H.R. Rep. No. 104-788 at 12.


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               Taking the allegations in the Superseding Indictment as true, the defendant

 engineers were to design tire manufacturing equipment for “off the road” (OTR) tires for

 their employer Wyko. The defendants formed a plan to take unauthorized photographs of

 Goodyear’s OTR manufacturing equipment under the guise of evaluating Wyko equipment.

 While at the Goodyear facility, defendant Roberts falsely told the security guard that he had

 signed a nondisclosure agreement within the past year. The defendants then falsely stated

 to the Goodyear engineer that they were there to evaluate Wyko-made equipment.

 Defendant Howley used his cellular telephone to take photographs of Goodyear’s OTR

 manufacturing equipment while defendant Roberts acted as lookout. Defendant Howley

 emailed the photographs to his work email account and then sent them to defendant

 Roberts’ work email account. Defendant Roberts emailed the photographs to Wyko

 employees in England. These allegations fall within the statutorily proscribed activity. The

 court agrees with Magistrate Judge Shirley’s finding that the EEA does not require that the

 defendants know the information allegedly stolen from Goodyear met the definition of a

 trade secret under the statute. According, the court finds that the EEA is not vague as

 applied to defendants, and defendants’ objection is OVERRULED.



               Defendants next argue that Count One of the Superseding Indictment fails

 to allege the mens rea element that they intended to convert a trade secret. As stated

 above, the statute does not require that the defendants know that the allegedly stolen

 information qualified as a trade secret. In United States v. Yang, the Sixth Circuit rejected

 the defendants’ argument that the government had to prove that what the defendants

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 sought to steal was an actual trade secret.         Id. 281 F.3d 534, 541 (6th Cir. 2002).

 Accordingly, the court agrees with Magistrate Judge Shirley’s conclusion that it is

 unnecessary for Count One to allege that element, and defendants’ objection is

 OVERRULED.



                 Finally, defendants argue that the wire fraud counts in the Superseding

 Indictment fail to sufficiently allege that any misrepresentations were material. As noted

 by Magistrate Judge Shirley, Paragraph 10 of the Superseding Indictment states that the

 photographed device was “protected by Goodyear as confidential and proprietary

 information.”     Paragraph 10 also sets forth Goodyear’s security measures including

 housing the device in a restricted area, requiring visitors to sign-in and be cleared for entry,

 prohibiting cameras in the area, requiring visitors to be escorted by a Goodyear employee,

 and requiring visitors to sign a nondisclosure agreement. The court finds that Paragraph

 10 sufficiently alleges facts to show that the alleged misrepresentations contained in

 Counts Eight through Eleven are material. A misrepresentation “must have the purpose

 of inducing the victim of the fraud to part with property or undertake some action that he

 would not otherwise do absent the misrepresentation or omission.” United States v. Daniel,

 239 F.3d 480, 487 (6th Cir. 2003).     Counts Eight through Eleven allege that defendant

 Roberts lied about signing a nondisclosure agreement and that he lied about having

 legitimate reasons for wanting to enter the Goodyear plant. Defendants’ alleged actions

 would have a tendency to influence Goodyear’s actions in allowing them access to the

 plant. Accordingly, the court finds that the facts alleged in the Superseding Indictment

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 adequately inform defendants of the nature of the charges against them and defendants’

 objections are OVERRULED.



              For the foregoing reasons, as well as the reasons articulated by Magistrate

 Judge Shirley in his R&R, defendant’s objections to the R&R [Doc. 83] are hereby

 OVERRULED in their entirety whereby the R&R [Doc. 80] is ACCEPTED IN WHOLE.

 Accordingly, defendants’ motions to dismiss the Superseding Indictment [Docs. 27, 29] are

 DENIED in their entirety.



                                          ENTER:

                                                s/ Thomas W. Phillips
                                              United States District Judge




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